Form SUMINVBK
                                             United States Bankruptcy Court
                                          California Northern Bankruptcy Court
       In re                   Caixing Xie                  )    Case No. 23−51290
                                Debtor*                     )
                                                            )    Chapter    7
                                                            )

                                 SUMMONS TO DEBTOR IN INVOLUNTARY CASE

To the above named debtor:
             A petition under title 11, United States Code was filed against you in this bankruptcy court on
11/2/23, requesting an order for relief under chapter 7 of the Bankruptcy Code (title 11 of the United States Code).


             YOU ARE SUMMONED and required to file with the clerk of the bankruptcy court a motion
or answer to the petition within 21 days after the service of this summons. A copy of the petition is attached.

                                 U.S. Bankruptcy Court
Address of the clerk:            280 South First Street
                                 Room 3035
                                 San Jose, CA 95113

At the same time, you must also serve a copy of your motion or answer on .
                             Zheng Liu
Name and Address of          Aptum Law
Petitioning Creditor:        1660 South Amphlett Blvd. Suite 315
                             San Mateo, CA 94402

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 1011(c).

If you fail to respond to this summons, the order for relief will be entered.

YOU ARE NOTIFIED that a Status Conference of the proceeding commenced by the filing of the involuntary
petition will be held at the following time and place:
                           Location:         Via Tele/Videoconference, www.canb.uscourts.gov/calendars

                      Date and Time:         1/25/24 at 01:30 PM



                                                                                For the Court:

                                                                                Edward J. Emmons
                                                                                Clerk of Court
                                                                                United States Bankruptcy Court



                                                                                By: John Bolts
               Date: 11/6/23                                                       Deputy Clerk

* Set forth all names, including trade names, used by the debtor within the last 8 years. (Fed. R .Bankr. P. 1005).




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                                               CERTIFICATE OF SERVICE

           I, ____Junbo Wu_________(name), certify that on _____11/08/2023_______________
(date), I served this summons and a copy of the involuntary petition on ___Caixing Xie _____________________
(name), the debtor in this case, by [describe the mode of service and the addresss at which the debtor was served]:

     1. mail with postage prepaid to Caixing Xie's home located at 18255 Clemson Ave. Saratoga, CA 95070.

        I also made the following additional efforts to serve this summons and a copy of the involuntary petition on Caixing Xie:
     2. on 11/07/2023 by personal delivery to Caixing Xie's girlfriend (Ms. Yuhua Jin) at Caixing Xie's business located at 6136 Bollinger
        Rd., San Jose, CA 95129;
     3. on 11/07/2023 by personal delivery to Caixing Xie's home located at 18255 Clemson Ave. Saratoga, CA 95070;
     4. on 11/07/2023 by email to Caixing Xie's known personal email at caixing.xie.cz@gmail.com;
     5. on 11/07/2023 by express mail with postage prepaid to Caixing Xie's foreign business located in Changzhou city, Jiangsu
        Province, China.

          If service was made by personal service, by residence service, or pursuant to state law, I further certify
that I am, and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.

         Under penalty of perjury, I declare that the foregoing is true and correct.


        Date ___11/11/2023________                        Signature ______________________________________________

                                                  Print Name: ___Junbo Wu______________________________________

                                               Business Address: _______2945 Alexis Dr. Palo Alto, CA 94304_________

                                                                      ______________________________________________




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